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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DELAWARE

 WOLFRAM ARNOLD, ERIK
 FROESE, TRACY HAWKINS,
 JOSEPH KILLIAN, LAURA CHAN
 PYTLARZ, and ANDREW
 SCHLAIKJER,

                Plaintiffs,                     C.A. No. 1:23-cv-528-CFC

       v.

 X CORP. f/k/a TWITTER, INC., X
 HOLDINGS CORP. f/k/a X
 HOLDINGS I, INC., and ELON
 MUSK,

                Defendants.


  DEFENDANT X CORP. f/k/a TWITTER, INC. AND X HOLDINGS CORP.
     f/k/a X HOLDINGS I, INC.’S OPENING BRIEF IN SUPPORT OF
       MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM


  Dated: July 31, 2023                  MORGAN, LEWIS & BOCKIUS LLP

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 I.    NATURE AND STAGE OF PROCEEDINGS

       On May 16, 2023, Plaintiffs filed their Original Complaint (ECF 1) alleging

 fourteen causes of action. On June 16, 2023, Plaintiffs amended their Original

 Complaint (D.I. 10) alleging the same causes of action. Defendants X Corp. f/k/a

 Twitter, Inc. and X Holdings Corp. f/k/a X Holdings I, Inc. (together hereinafter

 “Twitter”) move to dismiss Counts I, II, III, IV, V and XIV pursuant to Fed. R. Civ.

 12(b)(6) and Count VI pursuant to Fed. R. Civ. P. 9(b) and 12(b)(6).

 II.   SUMMARY OF THE ARGUMENT

       1.     The Court should dismiss Plaintiffs’ claims for severance benefits

 under the Merger Agreement because they are neither parties to it nor intended third-

 party beneficiaries.

       2.     The Court should dismiss Plaintiffs’ breach of contract and promissory

 estoppel claims because (1) they derive from and are predicated upon the fully-

 integrated Merger Agreement, as to which Plaintiffs are neither parties nor

 beneficiaries, and (2) Plaintiffs fail to plausibly allege any sufficiently definite

 contract between them and Twitter or any sufficiently definite promise by Twitter

 upon which they could have reasonably relied guaranteeing them severance.

       3.     The Court should dismiss Plaintiffs’ fraud claim because (1) they fail

 to allege such claim with the requisite level of particularity required by Fed. R. Civ.

 P. 9(b), and (2) they improperly recast the contract claim as a fraud claim.



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        4.    The Court should dismiss Plaintiffs’ claims for discrimination in

 violation of the California Fair Employment and Housing Act, Cal. Gov. Code

 § 12940 (“FEHA”) because Plaintiffs do not allege facts sufficient to plausibly

 support discrimination claims. Alternatively, the Court should dismiss or, in the

 alternative, stay Plaintiffs’ FEHA claims based on the first-filed rule.

 III.   STATEMENT OF FACTS

        A.    Twitter Enters Into a Fully Integrated Merger Agreement That
              Twice Disclaims Plaintiffs as Third-Party Beneficiaries.

        On April 25, 2022, Twitter entered into the Merger Agreement with X

 Holdings I, Inc., X Holdings II, Inc., and only for certain provisions, Elon R. Musk

 (the “Agreement”). Request for Judicial Notice (“RJN”), Ex. A.1 The Agreement

 is fully integrated and “constitutes . . . the entire agreement, and supersedes all other

 prior agreements and understandings, both written and oral, among the parties, or

 any of them, with respect to the subject matter hereof.” Id., § 9.7.




 1
   The Court may consider the Merger Agreement and the Frequently Asked
 Questions, as both documents are extensively quoted, relied on and incorporated by
 reference in the Complaint. In re Asbestos Products Liability Litig., 822 F.3d 125,
 133 n.7 (3d Cir. 2016); PBGC v. White Consol. Indus., 998 F.2d 1192, 1196 (3d Cir.
 1993); In re US West, Inc. Secs. Litig., 65 F. App’x 856, 861 n.2 (3d Cir. 2003)
 (appropriately considering Merger Agreement and Proxy Statements in deciding a
 motion to dismiss a claim that shareholders were entitled to damages arising out of
 a misleading proxy). The Agreement also is a public record filed with the Securities
 and Exchange Commission subject to judicial notice. F.R.E. 201(b)(2); Kuhn Const.
 Co. v. Ocean & Coastal Consultants, Inc., 844 F. Supp. 2d 519, 524 (D. Del. 2012).

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        The Agreement contains at least two provisions governing third-party

 beneficiary rights.     Section 6.9, titled “Company Benefit Plans,” contains a

 subsection (e) stating, “[n]othing contained in this Section 6.9, expressed or implied,

 shall . . . give any Company Service Provider (including any beneficiary or

 dependent thereof) or other Person any third-party beneficiary or other rights . . . .”

 (emphasis added). Company Service Provider is defined to include “each current or

 former . . .employee . . . of the Company or any of its Subsidiaries”—which includes

 Plaintiffs. Id. at 6.

        Section 9.7, titled “No-Third-Party Beneficiaries,” states that the Agreement

 “is not intended to and shall not confer upon any Person other than the parties

 hereto any rights or remedies hereunder; provided, however, that it is specifically

 intended that (A) the D&O Indemnified Parties (with respect to Section 6.6 from and

 after the Effective Time), (B) the Company Related Parties (with respect to Section

 8.3) are third-party beneficiaries and (C) the Parent Related Parties (with respect to

 Section 8.3) are third-party beneficiaries.” Id. § 9.7 (emphasis added). Plaintiffs are

 not included in any of these identified third-party beneficiary categories.

        B.     Twitter Lays Off Arnold, Froese, Pytlarz, and Schlaikjer, While
               Killian and Hawkins Voluntarily Resign.

        Twitter employed Plaintiffs Arnold, Hawkins, Killian, and Schlaikjer in

 California, D.I. 10, ¶¶ 11-12, 17-20, 24-25; employed Plaintiff Froese in New York,

 D.I. 10, ¶¶ 14-15; and employed Plaintiff Pytlarz in Texas, D.I. 10, ¶¶ 21-22.


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       On November 4, 2022, Twitter notified Froese and Pytlarz that they were

 being laid off. Id., ¶¶ 131-133. Twitter later notified Froese that he was being laid

 off effective February 27, 2023 and Pytlarz that she was being laid off effective

 January 20, 2023. Id., ¶¶ 15, 22, 379, 398, 407. On November 16, 2023, Twitter

 sent Arnold and Schlaikjer an email with an electronic link allowing them to either

 click by November 17 confirming their continued employment with Twitter or not

 click indicating their intent to voluntarily resign. Id., ¶ 143. Arnold and Schlaikjer

 did not click either option, and their employment ended on January 20, 2023. Id.,

 ¶¶ 25, 148, 379. Hawkins voluntarily resigned employment on November 4, 2022,

 and Killian voluntarily resigned on December 10, 2022. Id., ¶¶ 212, 292.

 IV.   ARGUMENT

       A.     Plaintiffs’ Declaratory Judgment and Breach of Merger
              Agreement Claims Should be Dismissed.

       Delaware law governs these claims under the choice of law clause in the

 Agreement. Ex. A, Section 9.8. “Under applicable Delaware law, only parties to a

 contract and intended third-party beneficiaries have standing to sue for breach of the

 contract.” Crispo v. Musk, 2022 WL 6693660, at *4 (Del. Ch. Oct. 11, 2022). “To

 adequately plead a third-party beneficiary claim under Delaware law, (i) the

 contracting parties must have intended that the third party benefit from the contract,

 (ii) the benefit must have been intended as a gift or in satisfaction of a pre-existing

 obligation to that person, and (iii) the intent to benefit the third party must be a


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 material part of the parties’ purpose in entering into the contract.” Fortis Advisors

 LLC v. Medicines Co., 2019 WL 7290945, at *3 (Del. Ch. Dec. 18, 2019). Whether

 the contracting parties intended to benefit a third party must “be determined from

 the language of the contract.” Pierce Assoc., Inc. v. Nemours Found., 865 F.2d 530,

 535 (3d Cir. 1988).    “[U]nder Delaware law both parties must in some manner

 express an intent to benefit the third-party before third-party beneficiary status is

 found,” because “[t]o allow the unilateral intent of one party to determine the

 existence of a third-party beneficiary would thwart the power that contracting parties

 should have to control their legal obligations, particularly in a commercial setting.”

 Am. Fin. Corp. v. Computer Sciences Corp., 558 F. Supp. 1182, 1185 (D. Del. 1983).

       Plaintiffs have not pled facts plausibly showing that the parties to the

 Agreement intended Plaintiffs to be third-party beneficiaries, so their claims should

 be dismissed under Rule (b)(6). Plaintiffs rely on Section 6.9(a) of the Agreement

 to allege that Twitter would provide Plaintiffs with “‘severance payments and

 benefits . . . no less favorable than’ those provided under Twitter’s policies . . .

 immediately prior to the merger,” and assert that Section 6.9(e), which expressly

 precludes their ability to enforce Section 6.9(a) as third-party beneficiaries, “is

 ineffective under Delaware law.” See D.I. 10, ¶¶ 38, 365. Section 6.9(e) states that

 “[n]othing contained in this Section 6.9”—which includes Section 6.9(a) on which

 Plaintiffs rely—“expressed or implied, shall . . . give any Company Service Provider



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 (including any beneficiary or dependent thereof) or other Person any third-party

 beneficiary or other rights . . . .” Exhibit A, § 6.9(e). Company Service Provider is

 defined to include all of Twitter’s current and former employees, including

 Plaintiffs. Id. at 6. Through Section 6.9(e)(ii), the contracting parties unequivocally

 expressed their intent to not confer third-party beneficiary status on Plaintiffs for

 purposes of enforcing Section 6.9(a). Section 6.9(e)(i) further reflects this intent by

 granting the acquiror the right “to amend, modify, merge or terminate after the

 Effective Time any Company Benefit Plan, Post-Closing Plan or other employee

 benefit plan” under which Plaintiffs are now seeking to recover alleged severance

 payments. Id., § 6.9(e)(i).

       The contracting parties further expressed their intent to not confer on Plaintiffs

 any third-party beneficiary status through Section 9.7, titled “No-Third Party

 Beneficiaries,” which states that the “Agreement is not intended to and shall not

 confer upon any Person other than the parties hereto any rights or remedies

 hereunder,” and then carves out three specifically enumerated categories of third-

 party beneficiaries—none of which include Plaintiffs.           Id., § 9.7.    Plaintiffs’

 Complaint simply ignores Section 9.7. Section 9.7 is not a boilerplate provision,

 but rather identifies certain individuals and entities as third-party beneficiaries to the

 exclusion of others, including to the exclusion of Plaintiffs. This is a key factor to

 the disposition of this Motion because, under Delaware law, “when a ‘no third-party



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 beneficiaries’ provision is ‘customized’ . . . such as when it ‘contains a carve-out’

 listing some groups as third-party beneficiaries, [Delaware courts have] concluded

 that the parties knew how to confer third-party beneficiary status and deliberately

 chose not to do so with respect to any unlisted groups.” Crispo, 2022 WL 6693660,

 at *4; see also Fortis Advisors, LLC v. Med. Co., 2019 WL 7290945, at *3 (De. Ch.

 Dec. 18, 2019). Plaintiffs’ allegation that Section 6.9(e) is “ineffective under

 Delaware law” lacks any merit. D.I. 10, ¶ 365. In Crispo, the Delaware Chancery

 Court analyzed the Agreement and held that it falls squarely within the category of

 “customized” no third-party beneficiary provisions and thus bars claims by third-

 party beneficiary employees. 2022 WL 6693660, at *4.

       Because the contracting parties expressly excluded Plaintiffs as third-party

 beneficiaries under the very section of the Agreement Plaintiffs now seek to enforce,

 and even included a second, bespoke no-third party beneficiary clause that also

 excluded Plaintiffs, the Agreement does not confer third-party beneficiary standing

 onto Plaintiffs, and Plaintiffs’ third-party beneficiary claims should be dismissed

 under Rule 12(b)(1) and (b)(6) for lack of standing and failure to state a claim.

       Plaintiffs’ claims also fail because Twitter retained broad managerial

 discretion to “amend, modify, merge or terminate after the Effective Time any

 Company Benefit Plan, Post-Closing Plan or other employee benefit plan.” Merger

 Agreement 6.9(e) (emphasis added). Under Delaware law, the party seeking to



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 prove breach must “establish affirmatively that the benefit was intentional.” Pettit

 v. Country Life Homes, Inc., 2009 WL 846922, at *3 (Del. Super. Ct. Mar. 31, 2009).

 If Plaintiffs cannot “establish affirmatively” an intention to confer direct benefits

 upon them, but rather happen to benefit from the performance of a promise either

 coincidentally or indirectly, then Plaintiffs will have no enforceable rights under the

 contract. Guardian Constr. Co. v. Tetra Tech Richardson, Inc., 583 A.2d 1378, 1386

 (Del. Super. Ct. 1990) (“[i]t is universally recognized, however, that where it is the

 intention of the promisee to secure performance of the promised act for the benefit

 of another, either as a gift or in satisfaction of an obligation to that person, and the

 promisee makes a valid contract to do so, then such third person has an enforceable

 right under that contract to require the promisor to perform or respond in damages.”).

 Here, the express language reserving the right to “amend, modify, merge or

 terminate after the Effective Time any Company Benefit Plan” forecloses any claim

 that Twitter intended to confer any guaranteed severance benefits on Plaintiffs.

       B.     Plaintiffs’ Breach of Contract, Promissory Estoppel, and Breach of
              Offer Letter Claims Should be Dismissed Under Rule 12(b)(6).

       Under Rule 12(b)(6), a claim must be dismissed if a plaintiff fails to allege

 “sufficient factual matter, accepted as true, to state a claim for relief that is plausible

 on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Courts “are not obligated

 to accept as true bald assertions, unsupported conclusions and unwarranted




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 inferences, or allegations that are self-evidently false[.]” Stanley Black & Decker,

 Inc. v. Gulian, 70 F. Supp. 3d 719, 726 (D. Del. 2014).

       Plaintiffs allege that Twitter promised, “in the event of a position

 elimination,” employees would receive certain severance benefits. D.I. 10, ¶¶ 96,

 326. The Complaint does not allege that Twitter promised severance if an employee,

 like Hawkins and Killian, resigned their employment. Id. ¶ 5. The Complaint does

 not allege that Hawkins and Killian suffered a “position elimination” or that their

 resignations were the result of a constructive discharge under California law. “The

 proper focus is on whether the resignation was coerced, not whether it was simply

 one rational option for the employee.” Turner v. Anheuser-Busch, Inc., 7 Cal. 4th

 1238, 1246 (1994). Plaintiffs’ disagreements with certain personnel directives and

 purported conflicting moral commitments are insufficient to rise to the level of a

 constructive discharge. See, e.g., Turner, 7 Cal. 4th at 1254 (finding “existence of

 illegal conduct in a workplace does not, without more, render employment

 conditions intolerable to a reasonable employee”); Casenas v. Fujisawa USA, 58

 Cal. App. 4th 101, 117 (1997) (no constructive discharge where, among other things,

 the employee objected to her supervisor’s communication and management style,

 which included “derogatory comments” and condescending criticisms); Rodriguez

 v. Wells Fargo Bank, Inc., 2016 WL 4595064, at *7 (E.D. Cal. Sept. 2, 2016)

 (finding that while plaintiff may disagree with their supervisor on certain matters,



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 “disagreement with a supervisor's opinion and management of personnel alone is

 insufficient to show constructive discharge.”). Thus Hawkins’ and Killian’s claims

 for breach of contract and promissory estoppel must be dismissed.

       Plaintiffs do not plead the specific state laws under which they assert their

 common law breach of contract and promissory estoppel claims. Twitter assumes

 for purposes of this Motion that Plaintiffs’ common law claims would be governed

 by the law of the state in which they were employed: California for Arnold,

 Hawkins, Killian, and Schlaikjer, New York for Froese, and Texas for Pytlarz. D.I.

 10, ¶¶ 11, 14, 17, 19, 21, 24.

       The basic elements of a breach of contract claim are substantially similar

 under California, New York, and Texas law. The plaintiff must plead facts plausibly

 establishing (i) the existence of a contract; (ii) plaintiff’s performance or excuse for

 non-performance; (iii) the defendant’s breach; and (iv) damages to the plaintiff as a

 result of the breach. Buschman v. Anesthesia Bus. Consultants, LLC, 42 F. Supp. 3d

 1244, 1250 (N.D. Cal. 2014); Canzona v. Atanasio, 118 A.D. 3d 837, 838-39 (N.Y.

 App. Div. 2014); Choe v. Bank of Am., N.A., 2013 WL 6159308, at *3 (N.D. Tex.

 Nov. 25, 2013). It is well-settled that “the Twombly-Iqbal standard of federal

 pleading require a complaint to identify, in [a] non-conclusory fashion, the specific

 terms of the contract that a defendant has breached. Otherwise, the complaint must

 be dismissed.” Lamoureux v. Trustco Bank, 592 F. Supp. 3d 14, 36 (N.D.N.Y.



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 2022); Stover v. Experian Holdings, Inc., 978 F.3d 1082, 1086 (9th Cir. 2020)

 (holding that “as the party alleging the existence of a contract, [the plaintiff] has the

 burden to prove each element of a valid contract”); Choe, 2013 WL 6159308, at *3

 (dismissing breach of contract claim where plaintiffs “have not plausibly alleged . .

 . requirements under Texas law for a valid and enforceable contract”).

       Plaintiffs allege that the FAQs distributed in May 2022 and October 20222

 “‘and related communications’ constituted an offer from Twitter to its employees[]

 that Twitter would provide its pre-merger severance and maintain current benefits in

 exchange for each employee’s remaining employed at Twitter through the merger.”

 D.I. 10, ¶¶ 94, 99, 326. However, the FAQs do not exist in a vacuum separate from

 the Agreement, as evidenced by the FAQs’ reference to the Agreement no less than

 twenty-one (21) times, and the FAQs cannot create obligations independent of that

 integrated Agreement. RJN, Ex. B at Exhibit 1.3 The FAQs also use the phrase

 “generally speaking” to describe the “current” severance package and do not

 promise that the “current package” would not change. Section 6.9 of the Agreement

 expressly allows for such change through the clause: “Nothing contained in this



 2
   Plaintiffs inaccurately refer to the FAQs as “the Severance Policy Email.” D.I.
 10, ¶ 94.
 3
   See, e.g., May 13, 2022 FAQ: “the [Merger] agreement provides for Tweep
 benefits, base salary, and bonus opportunities (short/long term incentives) to
 continue on a comparable basis for at least one year following the close of the
 transaction); the Agreement is fully integrated, see § 9.7.

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 Section 6.9, expressed or implied, shall . . . constitute a limitation on rights to amend,

 modify, merge or terminate . . . any Company Benefit Plan, Post-Closing Plan or

 other employee benefit plan, . . . .” RJN, Ex. A.

       The law in California, New York, and Texas is clear that no breach of contract

 claim lies based on a severance or other plan that could be changed or eliminated at

 any time. Schwarzkopf v. IBM, Inc., 2010 WL 1929625, at *7 (N.D. Cal. May 12,

 2010) (holding terms of sales “quota letter” were too indefinite to form a contract

 where the employer retained the ability to modify the compensation plan in

 question); Scott v. Pac. Gas & Elec., Co., 904 P.2d 834, 845 (Cal. 1995) (“courts

 will not enforce vague promises about the terms and conditions of employment that

 provide no definable standards for constraining an employer’s inherent authority to

 manage its enterprise”); Drummond v. Akselrad, 2023 WL 3173780, at *9 (S.D.N.Y.

 May 1, 2023) (dismissing breach of contract claim because under New York law in

 the employment-at-will context “what a company promises in a manual [or similar

 document] one day, it may prospectively take away the next.”); Sawyer v. E.I. Du

 Pont De Nemours & Co., 430 S.W.3d 396, 400-01 (Tex. 2014) (“But if the employer

 or employee can avoid performance of a promise by exercising a right to terminate

 the at-will relationship, which each is perfectly free to do with or without reason at

 any time, the promise is illusory and cannot support an enforceable . . . contract.”).




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       Plaintiffs’ claims for breach of their offer letters (Count V) fail for similar

 reasons. They allege that under their individual offer letters they “were eligible to

 receive benefits under the terms of Twitter’s benefit plans” and that the “severance

 policy” was such a benefit plan. D.I. 10, ¶¶ 349-50. Plaintiffs do not allege that

 Twitter had a duty to maintain any employee benefit plan—let alone a duty to

 conform the plan’s terms to the benefits they now seek. And, as explained supra,

 Twitter was free to modify or discontinue any severance plan at any time. The

 breach of offer letter claim also fails as too indefinite to constitute an enforceable

 contract. Weddington Prods., Inc. v. Flick, 60 Cal. App. 4th 793, 811-12 (Cal. App.

 Ct. 1998) (“the proposal must be sufficiently definite … that the performance

 promised is reasonably certain.”); Express Indus. & Terminal Corp. v. N.Y. State

 Dept. of Transp., 715 N.E. 2d 1050, 1053 (N.Y. 1999); Edmunds v. Houston Lighting

 & Power Co., 472 S.W.2d 797, 798-99 (Tex. Civ. App. 1971) (“[T]he offer must be

 reasonably definite in its terms and must sufficiently cover the essentials of the

 proposed transaction.”).

       Plaintiffs’ promissory estoppel claim (Count IV) similarly fails to state a

 claim. Promissory estoppel consists of (i) a promise clear and unambiguous in its

 terms, (ii) reliance by the party to whom the promise is made, (iii) the reliance must

 be both reasonable and foreseeable, and (iv) the party asserting the estoppel must be

 injured by his reliance. Oster v. Caithness Corp., 2017 WL 3727174, at *13 (N.D.



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 Cal. Aug. 30, 2017); Weinreb v. Hosp. for Joint Diseases Ortho. Inst., 404 F.3d 167,

 172 (2d Cir. 2005) (applying New York law); Addicks Servs., Inc. v. GGP-

 Bridgeland, LP, 596 F.3d 286, 300 (5th Cir. 2010) (applying Texas law). Plaintiffs’

 promissory estoppel claim fails because they do not plausibly allege reasonable

 reliance on alleged promises that contradict provisions in the Agreement that prevent

 any third-party beneficiary enforcement rights and grant Twitter discretion to modify

 or terminate any severance policy.

       The promissory estoppel claim also fails because the Complaint’s conclusory

 allegations regarding detrimental reliance and damages are insufficient under

 Twombly and Iqbal. The Complaint asserts that “Plaintiffs did in fact rely upon [the]

 promise” and “were damaged by their reasonable reliance, in that it negatively

 impacted their ability to find alternative employment in advance of the merger”. D.I.

 10, ¶¶ 337-338. Courts routinely dismiss such promissory estoppel claims.4 The

 Complaint lacks any factual allegations showing that any Plaintiff took any action

 in reliance on the FAQs’ alleged promise and was harmed as a result. Stanley, 70 F.

 Supp. 3d at 726 (courts “are not obligated to accept as true bald assertions,

 unsupported conclusions and unwarranted inferences, or allegations that are self-


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  See e.g., Ankerstjerne v. Schlumberger, Ltd., 155 F. App’x 48, 51-52 (3d Cir. 2005)
 (plaintiff failed to establish detrimental reliance where there was no evidence that
 the plaintiff forewent other more lucrative opportunities); Curcio v. Hartford Fin.
 Servs. Grp., 472 F. Supp. 2d 239, 245 (D. Conn. 2007) (“Forbearance from seeking
 job opportunities is not sufficient to show detrimental reliance.”).

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 evidently false[.]”); Drummond, 2023 WL 3173780, at *11-12 (plaintiff failed to

 sufficiently allege detrimental); Watson v. CitiMortgage, Inc., 530 F. App’x 322,

 327 (5th Cir. 2013) (affirming dismissal where plaintiffs “fail[ed] to articulate how

 they detrimentally relied on the promise[,] [] how such reliance would have been

 reasonable or justified[,] ... [or] how they were damaged.”).

       C.     Plaintiffs Fail to State a Claim for Fraud.

       Fraud must be pled with particularity. Fed. R. Civ. P. 9(b). A plaintiff must

 allege, in detail, “the who, what, when, where, and how” of the alleged fraudulent

 conduct, and “set forth an explanation as to why the statement or omission

 complained of was false or misleading.” Cooper v. Pickett, 137 F.3d 616, 627 (9th

 Cir. 1997); see also Williams v. WMX Techs., Inc., 112 F.3d 175, 177 (5th Cir. 1997);

 Shields v. Citytrust Bancorp, Inc., 25 F.3d 112, 1127-1128 (2d Cir. 1994).

 “Conclusory allegations and speculation are not sufficient.” O’Brien v. Nat’l Prop.

 Analysts Partners, 936 F.2d 674, 676 (2d Cir. 1991). “A plaintiff’s burden in

 asserting a fraud claim against a corporate employer is even greater.” Reddy v.

 Superior Global Sols., Inc., 2012 WL 6569800, at *8 (E.D. Tex. Oct. 2, 2012), report

 and recommendation adopted, 2012 WL 6569787 (E.D. Tex. Dec. 17, 2012). A

 plaintiff “must allege the names of the persons who made the allegedly fraudulent

 representations, their authority to speak, to whom they spoke, what they said or




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 wrote, and when it was said or written.” See, e.g., Khan v. CitiMortgage, Inc., 975

 F. Supp. 2d 1127, 1140 (E.D. Cal. 2013).

       Plaintiffs fail to meet the Rule 9(b) pleading standard, as they assert only

 vague allegations about representations “Twitter” allegedly made. See, e.g., Compl.

 ¶¶ 34, 39-41, 354. Plaintiffs allege no facts regarding who at Twitter made the

 alleged representations or whether they had authority to do so. See, e.g., Khan, 975

 F. Supp. 2d at 1141 (dismissing fraud claim in part due to “the complaint’s failure

 to identify CMI representatives who made misrepresentations, their authority to

 speak, the date of misrepresentation, and similar required details”). Plaintiffs also

 fail to allege facts showing that Twitter had an intent to defraud its employees when

 it made the alleged representations regarding severance. Plaintiffs rely exclusively

 on Musk’s alleged fraudulent intent to state a claim for fraud against Twitter. See

 Compl. ¶¶ 110-11, 359. Rule 9(b) “does not allow a complaint to merely lump

 multiple defendants together but requires plaintiffs to differentiate their allegations

 when suing more than one defendant … and inform each defendant separately of the

 allegations surrounding his alleged participation in the fraud.” Swartz v. KPMG

 LLP, 476 F.3d 756, 764-765 (9th Cir. 2007). Plaintiffs cannot conflate Musk’s

 alleged fraudulent intent with Twitter’s, particularly because Musk was not in

 control of the company at the time the allegedly fraudulent statements were made.

 See, e.g., DiVittorio v. Equidyne Extractive Indus., Inc., 822 F.2d 1242, 1247 (2d



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 Cir. 1987) (dismissing claims against defendants whose actions were not specifically

 identified and only generally connected to allegedly fraudulent parties); Daly v.

 Castro Llanes, 30 F. Supp. 2d 407, 414 (S.D.N.Y. 1998) (dismissing for failure to

 plead specific allegations of time, place, and content of defendant’s fraudulent

 misrepresentation, only pleading a close relationship with co-defendant).

       “[M]ere allegations of breach of contract do not give rise to a claim for fraud

 or fraudulent inducement.” Sudul v. Comput. Outsourcing Servs., 868 F. Supp. 59,

 61-62 (S.D.N.Y. 1994); see also Tanedo v. E. Baton Rouge Par. Sch. Bd., 2012 WL

 5447959, at *9 (C.D. Cal. Oct. 4, 2012); Heller Fin., Inc. v. Grammco Comput.

 Sales, Inc., 71 F.3d 518, 527-28 (5th Cir. 1996). Where, as here, plaintiffs’ fraud

 claim is redundant of their contract claim, the fraud claim can survive only “where

 the plaintiff either: i) demonstrate[s] a legal duty separate from the duty to perform

 under the contract; or ii) demonstrate[s] a fraudulent misrepresentation collateral or

 extraneous to the contract; or iii) seek[s] special damages that are caused by the

 misrepresentation and unrecoverable as contract damages.” Kulas v. Adachi, 1997

 WL 256957, at *9 (S.D.N.Y. May 16, 1997). At its core, Plaintiffs’ Complaint

 alleges a breach of contract action. See, e.g., Compl. ¶ 8; see generally Compl.,

 Counts II and III. They attempt to recast that contract claim as fraud by alleging that

 Musk had no intention of honoring the alleged promises that Twitter made regarding

 employee severance benefits. See, e.g., Compl. ¶¶ 112, 359. But they do not allege



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 any separate legal duty or promises collateral to the alleged contract, and thus the

 fraud claim must be dismissed. Kulas, 1997 WL 256957, at *9.

       D.     Plaintiffs Fail to State a Claim for Discrimination Under FEHA.

       A plaintiff alleging disparate treatment discrimination under the FEHA must

 allege that: (1) they were a member of a protected class; (2) they were performing

 competently; (3) they suffered an adverse employment action; and (4) some other

 circumstance that suggests a discriminatory motive. Guz v. Bechtel, 24 Cal. 4th 317,

 355 (2000). It is not enough to baldly allege that an employer discriminated against

 them based on their protected class; rather, they must plead facts showing “a

 discriminatory intent or motive for taking a job-related action.” See Hernandez v.

 MidPen Hous. Corp., 2014 WL 2040144, at *3 (N.D. Cal. May 16, 2014).5

       Here, the Complaint lacks any substantive factual allegations that Plaintiffs

 suffered adverse employment actions because of a discriminatory intent or animus.

 Plaintiffs’ FEHA allegations focus on Musk’s personal Twitter account and his role

 as CEO of Tesla and SpaceX, rather than how Twitter’s actions displayed any

 discriminatory intent or animus towards Plaintiffs. See Compl., ¶¶ 476-483, 516-




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  The FEHA claims also would fail under a disparate impact theory, which requires
 “a significant disparate impact on a protected class caused by a specific, identified,
 employment practice or selection criterion.” Stout v. Potter, 276 F.3d 1118, 1121
 (9th Cir. 2002); Mahler v. Jud. Council of Cal., 67 Cal. App. 5th 82, 113 (2021).

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 517 (citing Musk Twitter account), ¶¶ 489-515, 518-520 (discussing Musk’s role as

 CEO of Tesla and SpaceX).

       Plaintiffs Pytlarz and Arnold fail to plausibly allege discrimination based on

 sex, age or sexual orientation. Pytlarz alleges being laid off as part of a November

 4, 2022 RIF (see Compl. ¶¶ 131 and 531) but does not allege any gender-based

 animus directed specifically toward her or any alleged comments by any Twitter

 decisionmakers related to the RIF. The allegations regarding Tesla and SpaceX are

 completely irrelevant and unrelated to the RIF. Arnold claims to have been “laid

 off” in mid-November because he did not “check[] a box on an online form.” Id. ¶¶

 143-48. His allegations fail to show a “materially adverse change in the terms or

 conditions of employment because of” Twitter’s action. Valentine v. Nielsen, 2018

 WL 4092133, at *4 (S.D. Cal. Aug. 28, 2018). Rather, he simply did not “check[] a

 box on an online form,” and voluntarily resigned. Compl. ¶¶ 143-48. He fails to

 allege circumstances “giving rise to an inference of . . . discrimination.” Sheppard

 v. David Evans & Assoc., 694 F.3d 1045, 1049 (9th Cir. 2012). He does not allege

 that any Twitter decision-makers made any comments about (let alone even knew)

 his age or sexual orientation.

       E.     The Court Should Dismiss or Stay Plaintiffs’ FEHA Claims.

       The first-filed rule provides that “in all cases of federal concurrent

 jurisdiction, the court which first has possession of the subject must decide it.”



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 EEOC v. Univ. of Pa., 850 F.2d 969, 971 (3d Cir. 1988), aff’d, 493 U.S. 182 (1990).

 Where a lawsuit is filed that involves “the same parties and the same issues already

 before another district court,” the court presented with the later-filed lawsuit has “

 ‘the power’ to enjoin the subsequent prosecution of proceedings.” Id. at 971-72.

 “The first-filed rule encourages sound judicial administration and promotes comity

 among federal courts of equal rank.” Id. at 971. Courts applying the first-to-file rule

 look to “the chronology of the actions in addition to the overlapping subject matter,

 issues, claims, and parties.” Worthington v. Bayer Healthcare, LLC, 2012 WL

 1079716, at *3 (D.N.J. Mar. 30, 2012).

       Here, the FEHA sex and age discrimination claims are encompassed within

 the putative class claims in an class action lawsuit pending in the Northern District

 of California that was filed on December 7, 2022: Strifling v. Twitter, Inc., No. 22-

 cv-07739-JST (N.D. Cal.). Plaintiffs Pytlarz and Arnold are members of the putative

 classes in Strifling. See RJN, Ex. C (Strifling Complaint), at ¶ 8. It would waste of

 judicial resources for this Court to adjudicate claims already being analyzed by the

 Strifling court, and thus this Court should dismiss or stay those claims in this case.



  Dated: July 31, 2023                      MORGAN, LEWIS & BOCKIUS LLP

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